IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

 

HOUSTON DIVISION
-- X
PACIFIC GULF SHIPPING CO., :
Plaintiff, : CIVIL ACTION NO. H-19-CV-__
V. IN ADMIRALTY
ADAMASTOS SHIPPING & TRADING . UNDER SEAL

S.A., VIGOROUS SHIPPING & TRADING :
S.A., FEARLESS SHIPPING & TRADING :
S.A., BLUE WALL SHIPPING LTD.,
PHOENIX SHIPPING & TRADING S.A.,
THALASSA HOLDINGS S.A.,

ALASTOR MARINE S.A., GEORGE
GOURDOMICHALIS, and EFSTATHIOS
GOURDOMICHALIS,

Defendants.
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VERIFIED COMPLAINT

COMES NOW, Plaintiff PACIFIC GULF SHIPPING CO. (hereinafter “PACIFIC GULP”
or “Plaintiff’), by its undersigned counsel, and files this Verified Complaint against Defendants
ADAMASTOS- SHIPPING & TRADING S.A. (hereinafter “ADAMASTOS SHIPPING”),
VIGOROUS SHIPPING & TRADING S.A. (hereinafter “VIGOROUS SHIPPING”),
FEARLESS SHIPPING & TRADING S.A. (hereinafter “FEARLESS SHIPPING”), BLUE
WALL SHIPPING LTD. (hereinafter “BLUE WALL”), PHOENIX SHIPPING & TRADING
S.A. (hereinafter “PHOENIX SHIPPING”), THALASSA HOLDINGS S.A. (hereinafter
“THALASSA”), ALASTOR MARINE _ S.A. (hereinafter = “ALASTOR”), GEORGE
GOURDOMICHALIS (hereinafter “George Gourdomichalis”), and EFSTATHIOS

GOURDOMICHALITS (hereinafter “Stathis Gourdomichalis”) (collectively the “Defendants”).
This is a Supplemental Rule B attachment action in order to obtain security for Plaintiff’ s
maritime claims. Plaintiff previously filed a Rule B attachment action in the U.S. District Court for
the District of Oregon on December 3, 2018. See Pacific Gulf Shipping Co. v. Adamastos Shipping
& Trading, S.A., et al., 3:18-cv-2076, pending before Chief U.S. District Judge Michael Mosman.
In that action, Plaintiff successfully attached the M/V VIGOROUS, as partial security for Plaintiff’ s
claim. Defendants sought to vacate the Rule B attachment in Oregon pursuant to Supplemental
Rule E(4)(f), arguing that Plaintiff had not met its burden to sustain the attachment on a theory of
alter-ego or successor liability. District Judge Mosman held two (2) hearings on the Defendants’
challenges, denied the motion to vacate, and ruled that Plaintiff had established probable cause to
sustain the Rule B attachment of the M/V VIGOROUS on a credible theory of alter-ego liability.
The Oregon case is now proceeding to discovery and a trial on the merits has been set for November
12,2019. Notwithstanding, the VIGOROUS is only estimated to have a value of approximately
$9.72 million dollars and therefore does not fully secure Plaintiff's claim for damages of nearly

$24,000,000.

Accordingly, Plaintiff respectfully seeks to attach an additional Vessel, the M/V
FEARLESS, which is part of the same alter-ego fleet of sham companies and vessels as the M/V
VIGOROUS. In further support thereof, Plaintiff respectfully avers and pleads as follows:

JURISDICTION, VENUE AND PARTIES

1. Subject matter jurisdiction of this Honorable Court is based upon admiralty
and maritime jurisdiction pursuant to 28 U.S.C. § 1333 and is brought under the provision of
Rule B of the Supplemental Rules for Certain Admiralty and Maritime Claims. This case
is also an admiralty and maritime claim within the meaning of Rule 9(h) of the Federal

Rules of Civil Procedure for claim of breach of a maritime contract. The Court also has
federal question jurisdiction pursuant to 28 U.S.C. § 1331 and 9 U.S.C. § 204.

2. Jurisdiction and venue are proper in this matter, as an asset of the Defendants
that may be attached by process of maritime attachment and garnishment under the provisions
of Rule B, i.e. the M/V FEARLESS, is or will during the pendency of this action be within

the Southern District of Texas, to wit, the port of Houston.

THE PARTIES

3. At all times material hereto, Plaintiff PACIFIC GULF, was and still is a

foreign company organized under the laws of The Marshall Islands.

4, At all times material hereto, Defendant ADAMASTOS SHIPPING was and still
is a foreign company incorporated under the laws of Liberia and an address of “Care of

PHOENIX SHIPPING” located on the Akti Miaouli, in Piraeus, Athens, Greece.

5. At all times material hereto, Defendant VIGOROUS SHIPPING was and still
is a foreign company incorporated under the laws of Liberia and an address of “Care of
PHOENIX SHIPPING” located on the Akti Miaouli, in Piraeus, Athens, Greece.

6. At all times material hereto, Defendant FEARLESS SHIPPING was and still
is a foreign company incorporated under the laws of Liberia and an address of “Care of
PHOENIX SHIPPING” located on the Akti Miaouli, in Piraeus, Athens, Greece.

7. At all times material hereto, Defendant BLUE WALL, was and still is a
foreign company registered to do business in The Marshall Islands and maintains an address

of “Care of PHOENIX SHIPPING” located on the Akti Miaouli, in Piraeus, Athens, Greece.

8. At all times material hereto, Defendant PHOENIX SHIPPING was and still
is a foreign company registered to do business in The Marshall Islands which has maintained

an office located on the Akti Miaouli, in Piraeus, Athens, Greece since 2013. The current
address is at 47- 49 Akti Miaouli, 5" Floor, Piraeus 185 36, Greece.

9. At all times material hereto, Defendant THALASSA was and still is a
foreign company organized under the laws of The Marshall Islands and run from the same

address as PHOENIX SHIPPING.

10. At all times material hereto, Defendant ALASTOR was and still is a
foreign company organized under the laws of The Marshall Islands and run from the same

address as PHOENIX SHIPPING.

11. At all times material hereto, Defendant George Gourdomichalis was and is
an individual who is a foreign citizen residing in Greece and working from an office within

PHOENIX SHIPPING located on the Akti Miaouli, in Piraeus, Athens, Greece.

12. At all times material hereto, Defendant Stathis Gourdomichalis was and is
an individual who is a foreign citizen residing in Greece and working from an office within
PHOENIX SHIPPING located on the Akti Miaouli, in Piraeus, Athens, Greece.

HE TANTIVE CLAIM

13, On or about April 8, 2014, Plaintiff entered into a charter party agreement
with Defendant ADAMASTOS SHIPPING for use of the M/V ADAMASTOS (hereinafter
“the Vessel’) for a period between ninety (90) days and one hundred and eighty (180) days. The
charter agreement between Plaintiff and Defendant ADAMASTOS set forth specific terms,

rights, and obligations between the parties. See Charter Party, Exhibit |.
14. The April 8, 2014 charter party agreement is a maritime contract.

15. At all relevant times notices and contact details for the Owners of the
Vessel, Defendant ADAMASTOS SHIPPING was listed as “PHOENIX SHIPPING.” See

Exhibit 1.
16. Pursuant to the terms of the charter party, Plaintiff was to pay USD 9,000 per
day including overtime payable ten (10) days in advance plus USD 130,000 gross ballast
bonus to Defendant ADAMASTOS SHIPPING, payable every fifteen (15) days in advance in

exchange for the use of a seaworthy vessel. Id.

17. The parties further agreed to the arbitration of disputes arising out of the

maritime contract in London with English law to apply. /d.

18. Plaintiff duly complied with all obligations under the terms of the charter

party agreement.

19. On or about July 14, 2014, Plaintiff, as disponent owners of the Vessel, entered
into a sub-charter party agreement with Integris Co Ltd. for a one (1) time charter trip of one
(1) laden leg via Brazil to Singapore-Japan range carrying lawful/harmless grain products in

bulk.

20. Integris Co Ltd. sub-chartered the Vessel to Marubeni Corporation who was

the owner of the soyabean cargo to be carried by the Vessel.

21. The Vessel arrived at Sao Francisco Do Sul, Rio Grande on or about July 31,
2014 and commenced loading of a cargo of soyabeans starting at 0120 hours LT on August 1,

2014.

22. On or about August 5, 2014, the Vessel was inspected by local Port State
Control authorities in Brazil. The Brazilian authorities discovered no fewer than forty-two
(42) deficiencies with the Vessel. The Port State Control authorities detained the Vessel
pending further investigation and rectification of the deficiencies.

23. At or about 1855 hours LT on August 6, 2014, and while still loading cargo,

the Vessel broke free of her moorings, drifted to the middle of the channel, and grounded.
24. The Vessel had loaded approximately 59,674.680 metric tons of soyabeans as

of August 6, 2014, at or about the time that she broke free of her moorings and grounded.

25. The Vessel commenced refloating operations with her own engines and
thereafter with the assistance of tugs and pilots, as well as by Salvors, Rebocadores do Brasil
SA, and was refloated on August 7, 2014. Subsequently, the Vessel was shifted to the inner

anchorage north of the terminal berth.

26. After the grounding, the terminal would not permit the Vessel to re-berth
alongside to load the remaining cargo without meeting various conditions, including the
posting of security. ADAMASTOS SHIPPING, PHOENIX SHIPPING, George
Gourdomichalis, and/or Stathis Gourdomichalis (and/or others acting at their instruction
and control) failed, neglected, and otherwise refused to comply with the terminal
requirements and the Port Captain ordered the Vessel to shift to the outer anchorage,
given the Vessel’s draft and the Port State Control deficiencies and detention imposed on

the Vessel.

27. Over the course of the next six (6) months, the Vessel remained under
detention, failed to load the remainder of the cargo, and failed to complete the voyage as

required under the various charter party obligations.

28. Defendants abandoned not only the Vessel, their contractual partners, and

the cargo, but also the crewmembers they had hired to live and work onboard the Vessel.

29. During this period, numerous claims and causes of actions were
commenced against the Vessel by various third parties in Brazil, including (but not limited to)
the following:

a. $1,078,512 action by the Salvors for unpaid fees and costs;
b. $160,000 action by Sagres Agenciamentos Maritimos Ltda. for unpaid
agency fees;

c. $8,250 action by Kronos Maritime Agent Limited for unpaid agency fees;

d. An action by the Labour Prosecutor’s Office which fined the Vessel
$19,000 per day from the period of November 26, 2014 — December 30,
2014. As of December 31, 2014, the LPO action fine was increased to
$150,000 per day for non- compliance through January 18, 2015,
which was subsequently increased to $187,000 per day.

e. On or about December 14, 2014, the Federal Government of Brazil
commenced an action directing the Vessel and her owners to make the
necessary repairs to the Vessel and deliver the cargo to its final
destination.

f. On or about January 3, 2015 the Master and crew of the Vessel

commenced an action to recover their wages which had not been paid
while working on the Vessel.

30. On January 7, 2015, PHOENIX SHIPPING purportedly submitted a letter to
the Greek government, asserting PHOENIX SHIPPING ceased operation of the M/V
ADAMASTOS.

31. | Nocontemporaneous written notice of the termination of management services
was ever provided by PHOENIX SHIPPING to ADAMASTOS SHIPPING.

32. No written notice of the termination of management services was ever provided
by PHOENIX SHIPPING to Plaintiff as was required pursuant to clause 18.1 of the ship
management agreement. See George Gourdomichalis Transcript, Exhibit 3, at p. 157:1-8; see
also Ship Management Agreement dated December 7, 2012 at Exhibit 11.

33. Despite being the operator’ and manager for the Vessel, PHOENIX SHIPPING

 

' Operator means an entity “who is responsible for the operation, manning, victualing, and
supplying of the vessel.” 33 U.S.C. 1901(9).
did not seek repair estimates for the ADAMASTOS, did not provide budget proposals for repair
work, and did not send any written demands for payment to ADAMASTOS SHIPPING for
any of the items which needed to be rectified and the claims which needed to be settled in

Brazil. See George Gourdomichalis Transcript, Exhibit 3, at p. 153:7-11.

34. On February 12, 2015, the ADAMASTOS was formally found and/or declared

by Brazilian authorities to have been abandoned by both her owners and managers.

35. | Marubeni Corporation sought to recover its loss of value of its soyabean

cargo, estimated to be $32,650,000 against Integris Co Ltd. in London arbitration proceedings.

36. In turn, Integris Co Ltd. filed claims against Plaintiff in London arbitration
proceedings and sought no less than $18,000,000 plus $559,219.68 for the damages and

losses caused by the Vessel’s failure to complete the voyage to Marubeni Corporation.

37. Integris Co Ltd. has sought an additional $737,451.82 in damages for overpaid

hire, communication/entertainment/victualling fees, and fuel oil purchased.

38. On or about June 6, 2016, Plaintiff pursued its contract claims in London
arbitration against ADAMASTOS SHIPPING for breach of the charter party agreement on
the grounds that, inter alia:

a. The Vessel was not suitable for loading, carriage, and discharge.
b. The Vessel was not fit for service under the charter party agreement
or for any voyage and the Vessel was not seaworthy and/or properly

manned, equipped, and supplied.

c. The Vessel did not comport with the regulations and/or requirement for
any port, port of call, or country.

d. The Vessel did not have up-to-date certificates on board.
e. ADAMASTOS SHIPPING breached their obligation under the charter

party agreement “to make the ship seaworthy, properly manned,
equipped, and supplied, and make the holds fit and safe for the
reception, carriage and preservation of the cargo.”

f. ADAMASTOS SHIPPING breached the charter party agreement when
ADAMASTOS SHIPPING: (1) failed to take steps to remedy the
deficiencies; (2) failed to complete loading onboard the Vessel; (3)
failed to commence its voyage to China; (4) failed to deliver the cargo
to China; (5) abandoned the Vessel, the contracted voyage, the cargo,
and carriage of cargo; and (6) failed to deliver the cargo to the discharge
port.

39. As aresult of ADAMASTOS SHIPPING’s breach of the charter party agreement
and abandonment of the fully laden Vessel, Plaintiff PACIFIC GULF has suffered estimated
principal damages in the amount of no less than $19,296,671.50, plus applicable interest, costs,
and fees.

40. On April 19, 2017, the Sole Arbitrator issued a final award against ADAMASTOS
SHIPPING and declared that Plaintiff was entitled to be indemnified by ADAMASTOS
SHIPPING for any and all liabilities that Plaintiff “have or might be found to have or might in the

near future” related to the claims up the charter chain by Marubeni Corporation and Integris Co

Ltd., plus applicable costs, fees, and interest. See First Final Award, Exhibit 2.

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AWARD ER THE NEW YORK ENTI

41. | PACIFIC GULF restates and re-alleges paragraphs | — 40 in the above foregoing

Verified Complaint as if set forth herein.

42. Plaintiff hereby petitions this Court pursuant to the Federal Arbitration Act, 9
U.S.C. § 1 et seqg., and the Convention on the Recognition and Enforcement of Foreign Arbitral
Awards, 9 U.S.C. § 201 et. seq. (the “New York Convention”), for an order confirming the Award

in favor of Plaintiff and against Defendants, joint and severally.

43. The United States, Liberia, The Marshall Islands, and the United Kingdom (i.e. the
country in which the Award was rendered), are signatories of the New York Convention.
44. —_ Jurisdiction is proper in this Court pursuant to 9 U.S.C. § 203.
45. Venue is proper in this Court pursuant to 9 U.S.C. § 204.

46. The April 19, 2017 arbitration award is final and no appeal has been (or can be)

taken by ADAMASTOS SHIPPING. Plaintiff respectfully submits that no grounds exist for

refusal or deferral of recognition or enforcement of the Award against the Defendants under the
New York Convention. For the foregoing reasons, Plaintiff requests that the Court enter judgment
in favor of Plaintiff and against Defendants recognizing and enforcing the Award in the amount of

at least $19,296,671.50, plus applicable interest, costs, and fees as per the Award.

47. Plaintiff hereby reserves the right to further petition this Court to confirm
any further award of interest or costs which may be rendered in respect of this matter.
COUNT II - ALTER-EGO LIABILITY
48. PACIFIC GULF restates and re-alleges paragraphs 1 — 47 in the above

foregoing Verified Complaint as if set forth herein.

49. The alter ego doctrine applies when (1) the owner exercised complete control
over the corporation with respect to the transaction at issue and (2) such control was used to
commit a fraud or wrong that injured the party seeking to pierce the veil.’

a. Domination an ntrol

50. | Defendants George Gourdomicahlis and Stathis Gourdomichalis, by and
through PHOENIX SHIPPING, THALASSA, and ALASTOR, dominate and control

Defendant ADAMASTOS SHIPPING, BLUE WALL, VIGOROUS SHIPPING,

 

? Bridas S.A.P.LC. v. Government of Turkmenistan, 345 F.3d 347, 359 (Sth Cir. 2003).

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FEARLESS SHIPPPING and at least six (6) other single purpose shell companies which
nominally own the vessels in the BLUE WALL fleet.
i. Phoenix Shippi, Trading S.A
51. On October 26, 2011, PHOENIX SHIPPING was incorporated under the laws

of the Marshall Islands. See Phoenix Shipping’s Articles of Incorporation, Exhibit 5.

52. | PHOENIX SHIPPING’s principle place of business has always been on a
street named “Akti Miaoli” in Piraeus Greece. The office was originally located at 25 Akti
Miaouli Street, Piraeus Greece. In 2014, PHOENIX SHIPPING moved to 47-49 Akti
Miaouli Street, Piraeus Greece. See George Gourdomichalis Transcript, Exhibit 3, at pp. 66:19

~ 67:5.

53, Like a phoenix rising from the ashes, PHOENIX SHIPPING was founded in
order to create a new business for George Gourdomichalis and Stathis Gourdomichalis
following the failure of their previous shipping companies, including but not limited to
Gourdomichalis Naftiki Eteria, Free Bulkers, and G. Bros Maritime S.A. See George

Gourdocumichalis Transcript, Exhibit 3, pp. 14:16-19:19; 46:10-12; 63:15-17.

54. As PHOENIX SHIPPING was described by George Gourdomichalis, “[T]here
was no real business plan. It was more our father’s, if you will, last business venture in trying

to help us establish the business.” /d.

55. Since PHOENIX SHIPPING’s founding in 2011, George Gourdomichalis
has made all decisions concerning commercial operations, chartering, and insurance. See
George Gourdomichalis Transcript, Exhibit 3, pp. 29:21 — 30:9 (describing his responsibilities
as “general management of operations, chartering, insurances, if you will. All the commercial

side.”’).

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56. Since PHOENIX SHIPPING’s founding in 2011, Stathis Gourdomichalis has
made all decisions in the company on for the financial, budgeting, purchasing, and
administration side of the business. See George Gourdomichalis Transcript, Exhibit 3, p.

30:16-18; Stathis Gourdomichalis Transcript, Exhibit 4, p. 13:12-22.

57. For each and every vessel operated by PHOENIX SHIPPING, including the
M/V ADAMASTOS, M/V VIGOROUS (and the other SPVs held by BLUE WALL), all
communications and exchanges with the Vessel’s Classification Society, Flag Administration,
and Insurers were performed by PHOENIX SHIPPING, by and through George
Gourdomichalis and Stathis Gourdomichalis or others acting at their instruction. See George

Gourdomichalis Transcript, Exhibit 3, pp. 148:4-13.

58. Notwithstanding the positions which George Gourdomichalis and Stathis
Gourdomichalis held at PHOENIX SHIPPING, there are no records on file with the
Greek authorities which list George Gourdomichalis or Stathis Gourdomichalis as employees
of PHOENIX SHIPPING as required under Greek Law. See Stathis Gourdomichalis

Transcript, Exhibit 4, at p. 13:3-15.

59. Pursuant to PHOENIX SHIPPING’s Meeting Minutes of October 27, 2011,
Drakoulis Gourdomichalis, the father of George Gourdomichalis and _ Stathis
Gourdomichalis, assumed the roles of President, Secretary, and Treasurer of PHOENIX
SHIPPING as well as the Sole Director of PHOENIX SHIPPING. See Phoenix Shipping’s

Board of Director Minutes of Meeting dated October 27, 2011, Exhibit 6.

60. As Sole Director, Drakoulis Gourdomichalis accepted Defendant
ALASTOR’s offer to purchase two hundred and fifty shares without par value of PHOENIX

SHIPPING at $1.00 per share and THALASSA’s offer to purchase two hundred and fifty

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shares without par value of PHOENIX SHIPPING at $1.00 per share. See Phoenix Shipping’s

Board of Director Minutes of Special Meeting dated October 27, 2011, Exhibit 7.

61. Eight (8) share certificates were issued for sixty two point five (62.5) bearer

shares each. Four certificates were issued to ALASTOR and THALASSA, respectively. Id.

62. George Gourdomichalis is the sole owner of ALASTOR, a company
organized under the laws of the Marshall Islands which is a “Marshall Islands vessel
company” that “does various investments or other activities in the maritime industry.” See

George Gourdomichalis Transcript, Exhibit 3, p. 37:9-25.

63. ALASTOR has no office, no phone number, no employees, no staff, and
no identifiable presence. It is a shell company which George Gourdomichalis operates from

Akti Miaouli.

64. Stathis Gourdomichalis is the owner of THALASSA, a company organized
under the laws of the Marshall Islands which conducts the same type of maritime investment
business as ALASTOR. /d., Exhibit 3, p. 38:20 — 39:13; Stathis Gourdomichalis Transcript,

Exhibit 4, p. 14:15-22.

65. |THALASSA has no office, no phone number, no employees, no staff, and
no identifiable presence. It is a shell company which Stathis Gourdomichalis operates from

Akti Miaouli.

66. THALASSA and ALASTOR have no business other than to serve as the
conduit through which George Gourdomichalis and Stathis Gourdomichalis own and
dominate other businesses including PHOENIX SHIPPING and BLUE WALL SHIPPING.

See Stathis Gourdomichalis Transcript, Exhibit 4, p. 14:17-18.

67. From 2012 until the resignation of Drakoulis Gourdomichalis from

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PHOENIX SHIPPING in 2017, no shareholder meetings for PHOENIX SHIPPING were held
by the only two (2) shareholders, George Gourdomichalis and Stathis Gourdomichalis. See

George Gourdomichalis Transcript, Exhibit 3, pp. 62:11 — 63:13.

68. On or about December 4, 2017, Drakoulis Gourdomichalis resigned as the

sole director of PHOENIX SHIPPING. See Resignation Letter, Exhibit 8.

69. On or about December 5, 2017, George Gourdomichalis and Stathis
Gourdomichalis held a meeting to accept the resignation of their father as the sole director
of PHOENIX SHIPPING and elected themselves as the directors of PHOENIX SHIPPING.

See Phoenix Shipping’s Shareholder Minutes of Meeting dated December 5, 2017, Exhibit 9.
70. There are no other directors at PHOENIX SHIPPING.

71. In addition to dominating and controlling all business of PHOENIX
SHIPPING, serving as the sole shareholders through nominal offshore shell companies, and

electing themselves as the sole directors of the company, they also elected themselves as the

only officers of PHOENIX SHIPPING.
72. Specifically, George Gourdomichalis was elected as the President and

Stathis Gourdomichalis as the Secretary and Treasurer of PHOENIX SHIPPING. See Phoenix

Shipping’s Board of Director Minutes of Meeting dated December 5, 2017, Exhibit 9.
73. There are no other officers of PHOENIX SHIPPING.

74. On or about March 22, 2018, the board of directors of PHOENIX SHIPPING
held a meeting to amend the Articles of Incorporation and issuance of shares. George
Gourdomichalis and Stathis Gourdomichalis agreed to accept THALASSA’s offer to
purchase two hundred and fifty (250) registered shares without par value for $1.00 USD;

accept ALASTOR’s offer to purchase one hundred and eight five point five (185.5)

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registered shares without par value for $1.00 USD; and accept Golden Hind Shipping &
Trading S.A.’s offer to purchase sixty two point five (62.5) registered shares without par value
for $1.00 USD. See Phoenix Shipping’s Board of Director Minutes of Special Meeting dated

March 22, 2018, Exhibit 10.

75. Golden Hind Shipping & Trading S.A. is another off-shore shell company
organized under the laws of the Marshall Islands by George Gourdomichalis for the benefit
of himself and one of his children. George Gourdomichalis reportedly gifted his son one
of four shares certificates for sixty two point five (62.5) shares in PHOENIX SHIPPING in

the name of Golden Hind. See George Gourdomichalis Transcript, Exhibit 3, p. 59:23 — 60:4.

76. Stathis Gourdomichalis remained the owner of fifty percent (50%) of
PHOENIX SHIPPING by and through THALASSA and George Gourdomichalis remained the
owner of thirty seven point five percent (37.5%) of PHOENIX SHIPPING by and through

ALASTOR.

77. Inthe aggregate, George Gourdomichalis and Stathis Gourdomichalis owned
eighty seven point five percent (87.5%) of PHOENIX SHIPPING through shell companies
with Geourge Gourdomichalis’ son having been gifted the remaining twelve point five perecent
(12.5%) by George Gourdomichalis through another off-shore shell company, Golden Hind.
See Board of Director Minutes of Special Meeting dated March 22, 2018, Exhibit 10.

ii. Adamastos Shipping & Trading S.A.
78. ADAMASTOS SHIPPING was incorporated in the Republic of Liberia in

December 2012. See George Gourdomichalis Transcript, Exhibit 3, p. 96:7-18.

79. ADAMASTOS SHIPPING has a registered address of 80 Broad Street,

Monrovia, Liberia, a mail-box address that it shares with all Liberian corporations. /d., at p.

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97:16-24.

80. | While Defendant ADAMASTOS SHIPPING had a listed and registered address
in Liberia, it is simply a “brass plate”, shell company possessing no active office space,
employees, telephone numbers, fax numbers, and/or staff at this location. Instead, all
company business is conducted by George Gourdomichalis and Stathis Gourdomichalis from
their office on the Akti Miaouli in Piraeus Greece, directly and/or indirectly by and through

PHOENIX SHIPPING.

81. ©ADAMASTOS SHIPPING has no physical office anywhere in the world and
has never had a lease or otherwise paid rent for any office space in Liberia or Greece. /d., at
p. 97:20 — 98:10.

82. .ADAMASTOS SHIPPING has never had any employees or office staff. Id.,

at p. 98:11-18.

83. | George Gourdomichalis was the President of ADAMASTOS SHIPPING and

a member of the board of directors of the company. Id., at 99:22-25.

84. Stathis Gourdomichalis was the Secretary of ADAMASTOS SHIPPING and
a director of the company. See Stathis Gourdomichalis Transcript, Exhibit 4, at p. 57:13-21.

85. PHOENIX SHIPPING ministerially entered into a Ship Management
Agreement with ADAMASTOS SHIPPING on December 7, 2012 to run all aspects of
the M/V ADAMASTOS and ADAMASTOS SHIPPING’s business, including all chartering,
operations, crew management, technical management, commercial management, insurance
services, and accounting services for the M/V ADAMASTOS. See Ship Management

Agreement-Adamastos Shipping, Exhibit 11.

86. | George Gourdomichalis negotiated and signed the Ship Management

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Agreement on behalf of ADAMASTOS SHIPPING, contemporaneously with his service
as the person in charge of all commercial operations and chartering for PHOENIX SHIPPING.

Id; See also George Gourdomichalis Transcript, Exhibit 3, at pp. 84:19 — 85:4.

87. All notices under the Ship Management Agreement from PHOENIX SHIPPING
to ADAMASTOS SHIPPING was “care of’ PHOENIX SHIPPING at its office address

on Akti Miaouli Street in Piraeus, Greece. See Exhibit 11.

88. | PHOENIX SHIPPING performed all aspects of the commercial operation,
chartering, and technical operation for the M/V ADAMASTOS. See George

Gourdomichalis Transcript, Exhibit 3, at pp. 85:12 — 86:8; 87:2-20; 88:7-21.

89. No written instructions and/or objections as to the commercial operation of the
M/V ADAMASTOS were ever provided by ADAMASTOS SHIPPING to PHOENIX
SHIPPING. Id., at p. 86:21 — 87:1; 88:7-21. This is because all decisions were taken by

and for the benefit of George Gourdomichalis and Stathis Gourdomichalis.

90. All chartering negotiations on behalf of the M/V ADAMASTOS were
performed by George Gourdomichalis for and on behalf of PHOENIX SHIPPING and
ADAMASTOS SHIPPING. /d., at p. 87:5-12. No one else actively participated in and/or
approved contract negotiations and/or decisions for the chartering of the M/V ADAMASTOS.

Id., at p. 87:16 — 20.

91. All banking operations, financial records, and recordkeeping on behalf of
ADAMASTOS SHIPPING was performed solely by George Gourdomichalis and Stathis
Gourdomichalis by and through PHOENIX SHIPPING, or by person(s) under their direction

and control. Id.

92. In addition, PHOENIX SHIPPING was the Document of Compliance holder

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for the M/V ADAMASTOS. /7d., at pp. 147:20 — 148:3.

93. The U.S. Coast Guard requires “a valid Document of Compliance certificate if you are
the responsible person who, or company which, owns a U.S. vessel engaged on foreign
voyages, Carrying more than |2 passengers, or is a tanker, bulk freight vessel, freight vessel,
or a_ self-propelled mobile offshore drilling unit of 500 gross tons or more.” 33 C.F.R.
96.330. The Document of Compliance ensures that the responsible party has completed
a valid safety management audit, that the vessel is certified, and that the vessel operates in

accordance with the approved Safety Management System. Id.

94. The M/V ADAMASTOS had a 2012 first preferred mortgage dated December
14, 2012. The sole signatory to the agreement on behalf of ADAMASTOS SHIPPING was

George Gourdomichalis. See Adamastos Mortgage, Exhibit 12.

95. The first preferred mortgage was a complex financing scheme in order to
permit ADAMASTOS SHIPPING, PHOENIX SHIPPING, and the Gourdomichalis
Brothers to take possession of a ship without contributing any significant capital and use the
Vessel to trade for the benefit of its beneficial and dominating owners, without risk. See

George Gourdomichalis Transcript, Exhibit 3, pp. 114:19 — 115:6.

96. |The M/V ADAMASTOS was acquired and held in the name of an off-shore
shell company ADAMASTOS SHIPPING, so that George Gourdomichalis and Stathis
Gourdomichalis would have a vessel to own and operate at PHOENIX SHIPPING. See
Stathis Gourdomichalis Transcript, Ex. 4, at pp. 102:16-22 (“We proposed it to our father and
he decided to go ahead with this deal because he wanted to assist us into managing more ships,
et cetera, et cetera. And because we also were coming out of a very difficult financial situation

at that time. My father decide -- so Ican explain a bit more the structure of the deal, because

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it is very confusing.’’).

97. In fact, ADAMASTOS SHIPPING put no equity into the Vessel.
George Gourdomichalis Transcript, Exhibit 3, at pp. 114:19 ~ 115:6; 128:3-15. ADAMASTOS
SHIPPING was not only undercapitalized, it had no capitalization.

98. Specifically, the mortgage recorded a $6,000,000 first preferred mortgage on
the Vessel; had a second tranche of $18,000,000 which was nothing more than a secondary
security interest for the benefit of accounting purposes; and included a third tranche of
$1,000,000 purportedly for repairs to the M/V ADAMASTOS. Id., at pp. 114:19 — 117:6.

99. All repairs and/or necessary maintenance on the Vessel was carried out under
the direction, control, and supervision of George Gourdomichalis, Stathis Gourdomichalis,
and/or PHOENIX SHIPPING superintendents acting at the direction of George
Gourdomichalis and/or Stathis Gourdomichalis. See Stathis Gourdomichalis Transcript,
Exhibit 4, at p.105:11 — 106:7.

100. The Vessel had a fair market value of merely $6,000,000 (at best), yet had
liabilities on it for over four (4) times its actual value as a 1995 dry bulk vessel. See George
Gourdomichalis Transcript, Exhibit 3, at p. 115:14-18.

101. George Gourdomichalis attended all meetings with the financing bank as
the dominating and controlling individual who would be responsible for the technical and
commercial operation of the Vessel, as well as hiring and firing of shipboard staff and crew,
procurement of insurances, and overall responsibility for the maintenance, management, and
control of the Vessel. Id., at p. 119:2-4; see also Exhibit 11.

102. All notices under the first preferred mortgage were to be provided to

ADAMASTOS SHIPPING care of PHOENIX SHIPPING at the PHOENIX SHIPPING

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address of 25 Akti Miaoli Street, Piraeus Greece. See George Gourdomichalis Transcript,
Exhibit 3, at p. 121:5-12.

103. ADAMASTOS SHIPPING never paid any of the quarterly installments
of $175,000 which were due and owing for the repayment of the $6,000,000 tranche before
the Defendants George Gourdomichalis, Stathis Gourdomichalis, and PHOENIX
SHIPPING abandoned the M/V ADAMASTOS in Brazil in January 2015. /d., at p. 123:1 -
125:14.

104. George Gourdomichalis and Stathis Gourdomichalis were signatories to the
ADAMASTOS SHIPPING bank account. See George Gourdomichalis Transcript, Exhibit 3,
at p. 105:7-24.

105. All communications from the crew regarding the M/V ADAMASTOS were
sent only to PHOENIX SHPPING. /d., at p. 149:19 — 150:4.

106. No communications were ever sent to ADAMASTOS SHIPPING.

107. The same arrangement is true for VIGOROUS SHIPPING, FEARLESS
SHIPPING, and BLUE WALL. All communications go through PHOENIX SHIPPING.

108. There were no written request for a budget submitted by ADAMASTOS
SHIPPING and none prepared by PHOENIX SHIPPING for a budget to operate, maintain,
and/or for repair of the M/V ADAMASTOS in Brazil. Jd., at p. 153:4-11.

109. There was no_ request made by PHOENIX SHIPPING and/or
ADAMASTOS SHIPPING to the mortgagee bank seeking additional support and/or to draw
down further on the loan. /d.

110. No written reports were made by PHOENIX SHIPPING to ADAMASTOS

SHIPPING concerning the detention in Brazil. /d., at pp. 152:25 — 153:25.

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111. No notice was provided by ADAMASTOS SHIPPING, PHOENIX
SHIPPING, George Gourdomichalis, or Stathis Gourdomichalis or anyone else acting at their
instructions, to charterers Plaintiff PACIFIC GULF concerning the deteriorating condition
of the Vessel, even though Defendants, including George Gourdomichalis and Stathis

Gourdomichalis knew that Defendants were abandoning the Vessel in January 2015.

112. None of these decisions were contemporaneously or properly memorialized
or recorded in contemporaneous communications between the corporate entities and/or in
company records because at all relevant times, it was George Gourdomichalis and Stathis
Gourdomichalis who were making all decisions for and on behalf of the Vessel,

ADAMASTOS SHIPPING and PHOENIX SHIPPING.

113. ADAMASTOS SHIPPING was merely a captive corporation through which
George Gourdomichalis, Stathis Gourdomichalis, and PHOENIX SHIPPING dominated
and controlled all activities of the off-shore shell corporation and the M/V ADAMASTOS
before ultimately abandoning the Vessel in Brazil in breach of the charter party agreement,

for their own benefit, and to the detriment of Plaintiff PACIFIC GULF.

114. ADAMASTOS SHIPPING, VIGOROUS SHIPPING, FEARLESS SHIPPING,
BLUE WALL, THALASSA, ALASTOR, and PHOENIX SHIPPING are registered offshore
in jurisdictions of convenience such as the Marshall Islands and Liberia because they are
a ‘tried and tested’ tax shelter, with minimum regulatory oversight, and permitted to operate
in Greece pursuant to Law 89 without requirement to pay income tax in Greece. See George
Gourdomichalis Transcript, Exhibit 3, at pp. 33:10-11; 20:13 ~ 22.
iii. Blue Wall Shipping Ltd.

115. BLUE WALL was established by George Gourdomichalis and Stathis

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Gourdoichalis for the purpose of owning and operating a fleet of Vessels. See Blue Wall’s

Website Strategy, Exhibit 13.

116. BLUE WALL was incorporated on February 8, 2013 in the Marshall Islands.

See Blue Wall Certificate of Incorporation, Exhibit 14.

117. BLUE WALL holds itself out as a Vessel owner and states that: “It operates
wholly owned, top quality dry bulk vessels. BLUE WALL has built a strong balance sheet,

owns cash flow generating vessels_and is well positioned for growth through the cycle.”

See Blue Wall’s Website Home Page, Exhibit 15.

118. The BLUE WALL fleet consists of eight (8) vessels listed on its company
website: M/V BRAZEN; M/V COURAGEOUS; M/V DAUNTLESS; M/V FEARLESS;
M/V AUDACIOUS; M/V DEFIANT; M/V INTREPID; and the M/V VIGOROUS. See Blue

Wall’s Fleet, Exhibit 16.

119. Defendant BLUE WALL regularly holds itself out to the maritime industry
and press as being the owning company which acquires, operates, and owns all vessels

within the commonly managed and operated fleet. See Exhibit 17.

120. George Gourdomichalis and Stathis Gourdomichalis acquired the vessels by
raising equity to purchase the vessels and spent over $45 million dollars of that private equity
on the M/V BRAZEN; M/V COURAGEOUS; M/V DAUNTLESS; and the M/V

FEARLESS. See Press Release, Exhibit 17.

121. The corporate organization and structure of BLUE WALL was coordinated
and organized by George Gourdmichalis and Stathis Gourdomichalis as a way to “tap the private
equity market in order to try and raise capital from institution investors.” See Stathis

Gourdomichalis Transcript, Exhibit 4, at p. 16:11-18.

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122. The other “shareholders” of BLUE WALL are nothing more than financiers
who held mortgages on the vessels in exchange for the capital they provided to BLUE

WALL. See Stathis Gourdomichalis Transcript, Exhibit 4, at pp. 32:22 — 33:25.

123. None of these financier shareholders and nominee directors for BLUE WALL

have any practical, technical, and/or operational experience in vessel owning or management.

Id., at pp. 69:14 — 72:18.

124. There are no records of anyone apart from George Gourdomichalis and/or
Stathis Gourdomichalis (or others acting at their instructions) participating in any technical or
operational decision on behalf of any of the BLUE WALL vessels. Specifically, there are
no records of contemporaneous emails, minutes of meeting, inter-office memoranda, or text
messages of such decisions being taken by anyone other than George Gourdomichalis or

Stathis Gourdomichalis.

125. The private equity investments are a veiled and secretive security interest
designed to disguise George Gourdomicalis’ and Stathis Gourdomichalis’ domination,
control, and ownership of the vessels in the BLUE WALL fleet while the individual shell
companies maintain nominal “registered ownership” of the VIGOROUS and the other seven
(7) vessels in the BLUE WALL fleet. See Stathis Gourdomichalis Transcript, Exhibit 4, p.
90:2 — 25; see also Exhibit 22 (George Gouromichalis speaking at 11" Maritime Congress

on Alternative Ship Financing Arrangements).

126. There is no record of anyone other than George Gourdomichalis and
Stathis Gourdomichalis participating in any operational and/or chartering decision for the
M/V ADAMASTOS, the M/V VIGOROUS, and/or any other vessel owned through BLUE

WALL.

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127. From the beginning, the desire and intention by George Gourdomichalis and
Stathis Gourdomichalis was to have the entire BLUE WALL fleet subject to their technical,
operational, and chartering control by and through a framework management agreement
between PHOENIX SHIPPING and BLUE WALL. See Stathis Gourdomichalis Transcript,

Exhibit 4, p. 98:12 — 99:13.

128. Underscoring the fact that the shareholder/investors were signing up to
provide financing for ships to be operated and controlled by George Gourdomichalis and
Stathis Gourdomichalis, no one on the board of directors or shareholders ever objected
to and/or commented on the entry of a ship management agreement between PHOENIX

SHIPPING and any of the SPVs. /d., at 99:11-18.

129. In fact, it was a condition of the BLUE WALL corporate arrangement that
PHOENIX SHIPPING would serve as the technical manager, commercial operator, holder of
the Document of Compliance, and control each and every aspect of each Vessel and nominal

SPV owner.

130. Each vessel in BLUE WALL’s fleet of eight (8) vessels is nominally owned by
off- shore shell companies, which are dominated, operated, and controlled by George
Gourdomichalis and Stathis Gourdomichalis directly and/or indirectly through PHOENIX

SHIPPING.

131. The respective registered owners of the eight (8) vessels include: Brazen
Shipping & Trading S.A. as registered owner of the M/V BRAZEN; Courageous Shipping &
Trading S.A. as registered owner of the M/V COURAGEOUS; Dauntless Shipping & Trading
S.A. as registered owner of the M/V DAUNTLESS; Fearless Shipping & Trading S.A. as

registered owner of the M/V FEARLESS; Audacious Shipping & Trading S.A. as registered

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owner of the M/V AUDACIOUS; Defiant Shipping & Trading S.A. as registered owner
of the M/V DEFIANT; Intrepid Shipping & Trading S.A. as registered owner of the M/V
INTREPID; and Vigorous Shipping & Trading S.A. as registered owner of the M/V
VIGOROUS. See Vessel Structure Chart, Exhibit 23.

132. George Gourdomichalis is the President of all of the companies. See Stathis
Gourdomichalis Transcript, Exhibit 4, at p. 45:16-19.

133. Stathis Gourdomichalis is the Secretary and Treasurer of all of the companies.
See Stathis Gourdomichalis Transcript, Exhibit 4, at pp. 44:20 - 45:11.

134. Although each vessel in the fleet of BLUE WALL was registered in the name of
an individual one-ship company, George Gourdomichalis and Stathis Gourdomichalis, directly
and/or indirectly, by and through PHOENIX SHIPPING, BLUE WALL, and other off-
shore entities beneficially own and operated these vessels as assets of a single business
enterprise.

135. The purported corporate independence of the respective vessel owners is
simply fictitious, as they are entirely subjugated to business goals and practices of George
Gourdomichalis and Stathis Gourdomichalis.

136. BLUE WALL’s address for public inquiries is “c/o Phoenix Shipping and
Trading, 47-49 Akti Miaouli, 5% Floor, Piraeus, 18536.” See Blue Wall’s Contact Information,
Exhibit 19.

137. Although BLUE WALL’s business is conducted by and through George
Gourdomichalis and Stathis Gourdomichalis at their PHOENIX SHIPPING office, BLUE
WALL does not have a lease and/or otherwise does not pay rent and/or utilities to PHOENIX

SHIPPING for the use of the office space. See Stathis Gourdomichalis Transcript, Exhibit 4,

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at p. 69:10-13.

138. BLUE WALL does not have any independent telephone numbers, fax
numbers, employees, or staff separate and apart from PHOENIX SHIPPING. Jd.

139. George Gourdomichalis is the Chief Executive Officer of BLUE WALL.
See George Gourdomichalis Transcript, Exhibit 3, at p. 173:4-6.

140. George Gourdomichalis serves as the CEO of BLUE WALL pursuant to a
Service Agreement by and between BLUE WALL and George Gourdomichalis’ wholly
owned ‘investment company’ Defendant ALASTOR. /d., at p. 188:18-23.

141. Stathis Gourdomichalis is the Chief Operating Officer of BLUE WALL. I/d.,
at p. 173:7-9.

142. Stathis Gourdomichalis serves as the COO of BLUE WALL pursuant to a
Service Agreement by and between BLUE WALL and Stathis Gourdomichalis’ wholly owned
‘investment company’ Defendant THALASSA. See Stathis Gourdomichalis Transcript,
Exhibit 4, p. 54:20 — 55:5.

143. George Gourdomichalis and Stathis Gourdomichalis are both on the board
of directors for BLUE WALL and are the only “Class A” directors. See George
Gourdomichalis Transcript, Exhibit 3, at p. 174:1-6.

144. A “Class A” director is someone who is required to have shipping experience
and technical and commercial management of vessels. Id., at p. 174:7-12.

145. George Gourdomichalis and Stathis Gourdomichalis are both listed as “Key
Men” who are required pursuant to the Articles of Incorporation of BLUE WALL to provide
commercial operations and technical services to BLUE WALL by and through their roles as

CEO and COO respectively and through their commercial operation and technical

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management of the BLUE WALL fleet of vessels by PHOENIX SHIPPING. /d., at p. 178:5-
17.

146. George Gourdomichalis and Stathis Gourdomichalis, directly and/or
indirectly through PHOENIX SHIPPING, dominate and control the operation of the entire
BLUE WALL fleet of vessels. /d., at p. 184:22 — 185:2.

iv.

 

147. VIGOROUS SHIPPING was incorporated in the Republic of Liberia in February

2014. See George Gourdomichalis Transcript, Exhibit 3, p. 199:20-25.

148. FEARLESS SHIPPING was also incorporated int the Republic of Liberia.

149. VIGOROUS SHIPPING and FEARLESS SHIPPING each have a registered
address of 80 Broad Street, Monrovia, Liberia, a mail-box address that they share with all
Liberian corporations. See Ship Management Agreement — Vigorous Shipping, Exhibit 20.

150. While Defendants VIGOROUS SHIPPING and FEARLESS SHIPPING each
have a listed and registered address in Liberia, they are simply off-shore “brass plate’, shell
companies possessing no active office space, employees, telephone numbers, fax numbers, and/or
staff at this location. Instead, all company business is conducted by George Gourdomichalis
and Stathis Gourdomichalis, directly and/or indirectly, by and through PHOENIX SHIPPING
and BLUE WALL.

151. VIGOROUS SHIPPING and FEARLESS SHIPPING have no physical office
anywhere in the world and have never had a lease or otherwise paid rent for any office space in
Liberia or Greece. Id.

152. VIGOROUS SHIPPING has never had any employees or office staff. George

Gourdomichalis Transcript, Exhibit 3, p. 202:3-5.

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153. George Gourdomichalis is the President of VIGOROUS SHIPPING and a director
of the company. /d., at pp. 200:25 — 201:5.

154. Stathis Gourdomichalis was the Secretary and Treasurer of VIGOROUS
SHIPPING and a director of the company. /d., at p. 201:6-11.

155. George Gourdomichalis and Stathis Gourdomichalis hold the same officer and
board of director positions in FEARLESS SHIPPING and each of the six (6) other shell company
SPVs which nominally serve as the registered owners of the vessels in the BLUE WALL fleet. Id.

156. PHOENIX SHIPPING entered into a Ship Management Agreement with
VIGOROUS SHIPPING on February 14, 2014 to run all aspects of the M/V VIGOROUS and
VIGOROUS SHIPPING’ s business, including all chartering, operations, crew management, hiring
and firing of all shipboard staff, technical management, commercial management, insurance
services, and accounting services for the M/V VIGOROUS. See Ship Management Agreement —
Vigorous Shipping, Exhibit 20.

157. The agreement was not negotiated at arms-length and is virtually identical to the
services provided by PHOENIX SHIPPING and George Gourdomichalis and Stathis
Gourdomichalis to ADAMASTOS SHIPPING. Cf. Exhibit 11 and Exhibit 20.

158. The same type of ship management agreement is also in place between PHOENIX
SHIPPING AND FEARLESS SHIPPING.

159. VIGOROUS SHIPPING and FEARLESS SHIPPING, along with the six (6) other
SPV entities has its mailing address at “c/o Phoenix Shipping and Trading, 47-49 Akti Miaouli,
5 Floor, Piraeus, 18536.” See Equasis, Exhibit 18.

160. PHOENIX SHIPPING maintains all of the corporate books, records, and financial

records for VIGOROUS SHIPPING and FEARLESS SHIPPING.

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161. Even though the M/V VIGOUROUS is ‘registered’ to VIGOUROUS
SHIPPING, in actuality, it is beneficially owned, operated, dominated and controlled by George
Gourdomichalis and Stathis Gourdomichalis directly and indirectly by and through PHOENIX
SHIPPING, BLUE WALL, and/or others acting at the instructions of George Gourdomichalis
and Stathis Gourdomichalis.

162. George Gourdomichalis and Stathis Gourdomichalis, by and through PHOENIX
SHIPPING, hold the Document of Compliance for the VIGOROUS.

163. The Office of the Deputy Commissioner of Maritime Affairs for the Republic of
Liberia maintains copies of the first preferred mortgage for the M/V VIGOROUS, which connects
the Defendants and the other vessel-owning entities and establishes George Gourdomichalis and
Stathis Gourdomichalis as the beneficial owners of the M/V VIGOROUS. See Vigorous Mortgage,
Exhibit 21.

164. On December 30, 2014, VIGOROUS SHIPPING and mortgagee CIT Finance LLC

entered into a first preferred mortgage agreement. See Exhibit 21.

165. Under the loan agreement, VIGOROUS SHIPPING pledged its only asset, the M/V
VIGOROUS, as collateral to secure a $24,150,000 loan for two (2) other entities, Brazen Shipping
& Trading S.A. (hereinafter “BRAZEN’’) and Dashing Shipping & Trading S.A. (hereinafter
“DASHING’”), both of which are owned, operated, and controlled by George Gourdomichalis and
Stathis Gourdomichalis, directly and/or indirectly through PHOENIX SHIPPING and/or BLUE
WALL. Id.

166. VIGOROUS SHIPPING, as collateral guarantor, agreed to guarantee all liabilities
of BRAZEN and DASHING in the financial documents. Jd. Such guarantee was given without

compensation or an arms-length contract because VIGOROUS SHIPPING, just like all other

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single purpose entities in the BLUE WALL fleet, is owned, dominated, and/or controlled by
George Gourdomichalis and Stathis Gourdomichalis.

167. At the direction of George Gourdomichalis and Stathis Gourdomichalis, BLUE
WALL guaranteed all liabilities of BRAZEN and DASHING in the financial documents as the
“parent guarantor’. Id.

168. Pursuant to Schedule 1, Part A, of the mortgage agreement, VIGOROUS
SHIPPING, BLUE WALL, and borrowers BRAZEN and DASHING reflect that the address for
all communications is “c/o Phoenix Shipping and Trading, 47-49 Akti Miaouli, 5" Floor, Piraeus,
18536.” Id.

169. Even though the M/V FEARLESS is ‘registered’ to FEARLESS SHIPPING, in
actuality, it is beneficially owned, operated, dominated and controlled by George Gourdomichalis
and Stathis Gourdomichalis directly and indirectly by and through PHOENIX SHIPPING, BLUE
WALL, and/or others acting at the instructions of George Gourdomichalis and Stathis
Gourdomichalis.

170. George Gourdomichalis and Stathis Gourdomichalis, by and through PHOENIX
SHIPPING, hold the Document of Compliance for the FEARLESS.

171. The Office of the Deputy Commissioner of Maritime Affairs for the Republic of
Liberia maintains copies of the first preferred mortgage for the Defendants other vessels which
connects the Defendants and the other vessel-owning entities.

172. The First Preferred Mortgage for the M/V AUDACIOUS identifies a Loan
Agreement dated June 18, 2014 between: Courageous Shipping & Trading S.A., Dauntless
Shipping & Trading S.A., Defiant Shipping & Trading S.A., Fearless Shipping & Trading

S.A., and Intrepid Shipping & Trading S.A., as joint and several borrowers from Joh.

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Berenberg, Gossler & Co. KG for a loan facility of $30,000,000. See Exhibit 25.

173. This mortgage and loan facility further establishes George Gourdomichalis and
Stathis Gourdomichalis as the beneficial owners of the M/V FEARLESS. See Exhibit 26.

174. All notice communications to any of the six (6) brass-plate shell companies,
including FEARLESS SHIPPING were to be made c/o PHOENIX SHIPPING with attention to
Mr. Stathis Gourdomichalis, with the address on the Akti Miaouli in Piraeus Greece. Jd., at p. 55.

175. A supplemental agreement amending the Loan Agreement entered into on April 1,
2016 was signed by George Gourdomichalis on behalf of each of six (6) brass-plate shell
companies, including FEARLESS SHIPPING.

176. BLUE WALL, at the direction of George Gourdomichalis and Stathis
Gourdomichalis, regularly cross-guarantee and collateralize each of the single purpose entities that
it owns and controls not for the benefit of the individual vessel owning company, but for the benefit

of themselves through their various shell companies.

177. The Defendants individually and/or collectively are part of a single business
enterprise disguised as separate business entities, but in actuality are dominated and controlled by
George Gourdomichalis and Stathis Gourdomichalis by and through PHOENIX SHIPPING,
BLUE WALL, ALASTOR, THALASSA and other nominal off-shore shell companies.

178. The finances and business activities of Defendants are so intertwined, and at the
subject and control of George Gourdomichalis and Stathis Gourdomichalis that there exists such a
unity of ownership and interest between them that no genuine separation exists.

179. All Defendants were, at all relevant times, operated, dominated, controlled, and
managed by George Gourdomichalis and Stathis Gourdomichalis by and through their various

shell entities, which results in an intermingled web of companies doing business as one (1) single

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economic enterprise that disregards all corporate formalities.

180. Though Defendants comprise nominally separate corporate business / legal entities,
their ownership and control is so intertwined and fused that they are only distinct from one another
as a matter of pro forma paperwork; not in the functional and actual ways in which the companies
are dominated and controlled by George Gourdomichalis and Stathis Gourdomichalis.

181. This blatant disregard for separate and distinct corporations and dominion by
common officers, managers, and directors demonstrates that the Defendants are mere alter egos of
each other and subject to the dominion and control of George Gourdomichalis and Stathis
Gourdomichalis by and through their various shell companies including PHOENIX SHIPPING,
ALASTOR, THALASSA, and BLUE WALL.

b. Fraud in t rlying Transaction
182. Defendants PHOENIX SHIPPING, George Gourdomichalis, Stathis

Gourdomichalis, and ADAMASTOS SHIPPING knew that ADAMASTOS SHIPPING was not

adequately capitalized at the time the company was formed and throughout their operation of the
Vessel. See George Gourdomichalis Transcript, Exhibit 3, at p. 238:24 — 239:1.

183. Defendants PHOENIX SHIPPING, George Gourdomichalis, Stathis
Gourdomichalis, and ADAMASTOS SHIPPING knew that ADAMASTOS SHIPPING had very
limited cash on hand and no reserve to pay for any costs, fees, and/or expenses which might
necessarily arise with a Vessel. /d., at p. 105:6-24.

184. Defendants PHOENIX SHIPPING, George Gourdomichalis, Stathis
Gourdomichalis, and ADAMASTOS SHIPPING knew that ADAMASTOS SHIPPING had
stopped paying the $18,000 per month management fee and other amounts due and owing pursuant

to the Ship Management Agreement. See Stathis Gourdomichalis Transcript, Exhibit 4, at pp.

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60:12-61:7; p. 82:2-6.

185. The ADAMASTOS SHIPPING bank account had a mere $6,453.47 in March of
2014, ie. right before the Vessel was chartered to Plaintiff PACIFIC GULF. See Stathis
Gourdomichalis Transcript, Exhibit 4 at pp. 97:14 — 98:1.

186. Defendants PHOENIX SHIPPING, George Gourdomichalis, Stathis
Gourdomichalis, THALASSA, and ADAMASTOS SHIPPING knew that THALASSA made
several payments for and on behalf of ADAMASTOS SHIPPING to PHOENIX SHIPPING
totaling $52,100.00. Id., at p. 95:17 — 96:13; see also Berenberg Bank Statement of PHOENIX
SHIPPING, Exhibit 24.

187. Payments were not loans, were not recorded in writing, and there was no obligation
for THALASSA to make such payments for and on behalf of ADAMASTOS SHIPPING to
PHOENIX SHIPPING. The payment(s) were made solely because George Gourdomichalis and
Stathis Gourdomichalis dominate and control all of the Defendants.

188. Defendants PHOENIX SHIPPING, George Gourdomichalis, and Stathis
Gourdomichalis used their domination and control over Defendant ADAMASTOS SHIPPING to
enter into a charter party agreement with Plaintiff PACIFIC GULF, despite knowledge that the
Vessel was unseaworthy, was not fit for its intended purpose, and was not in compliance with
international regulations and requirements. See Exhibit 1; see George Gourdomichalis Transcript,
Exhibit 3; p. 147:20 — 148:3.

189. Despite the clear undercapitalization and failure by Defendants to run a financially
sound or solvent vessel, George Gourdomichalis, directly and/or indirectly through PHOENIX
SHIPPING, negotiated the charter of the M/V ADAMASTOS with Plaintiff PACIFIC GULF on

April 8, 2014.

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190. Despite the fact that George Gourdomichalis, Stathis Gourdomichalis, and
PHOENIX SHIPPING knew that the Vessel was deteriorating, knew that the Vessel and
ADAMASTOS SHIPPING were undercapitalized, and knew that the ADAMASTOS
SHIPPING bank account did not have adequate funds, Defendants failed, neglected and/or
refused to provide any warning to PACIFIC GULF of the unseaworthy nature of the
Vessel and fraudulently permitted the charterers and cargo interests to load a high value cargo
of soyabeans onboard.

191. Defendants PHOENIX SHIPPING, George Gourdomichalis, Stathis
Gourdomichalis, and ADAMASTOS used these false representations to their own advantage
in order obtain Plaintiff's business and to earn $1,114,365 in charter hire.

192. Plaintiff would not have contracted for the use of the M/V ADAMASTOS
absent these material misrepresentations by the Defendants that the Vessel was, among other
warranties and guarantees contained in the charter party agreement, a seaworthy vessel that
was fit for its intended purpose and in compliance with all international regulations, laws, and
requirements.

193. Defendants George Gourdomichalis, Stathis Gourdomichalis, and PHOENIX
SHIPPING for their own benefit and the fraudulent benefit of the remaining vessels within
the BLUE WALL fleet, including the M/V FEARLESS, purposefully failed, neglected,
and/or refused to satisfy the claims against the M/V ADAMASTOS in Brazil and instead
abandoned the vessel, leaving Plaintiff PACIFIC GULF to deal with the claims from cargo
owners and sub- charterers which are no less than $19,296,671.50, plus applicable interest,
costs, and fees.

194. Defendants George Gourdomichalis, Stathis Gourdomichalis, and PHOENIX

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SHIPPING now intend to own and operate their remaining vessels, including the M/V
FEARLESS with impunity, as it attempts to hide behind the sham company FEARLESS
SHIPPING, without providing Plaintiff payment or security for the damages caused by
Defendants through their domination, control, and abuse of the M/V ADAMASTOS to commit
a wrong which has caused Plaintiff significant injuries and damages.
COUNT II - SUCCESSOR LIABILITY —
195. PACIFIC GULF restates and re-alleges paragraphs | — 190 in the above foregoing

Verified Complaint as if set forth herein.

196. BLUE WALL, VIGOROUS SHIPPING, FEARLESS SHIPPING (as well as the
other six (6) one-ship company entities and subsidiaries of BLUE WALL), by and through
PHOENIX SHIPPING and individual Defendants, George Gourdomichalis and Stathis
Gourdomichalis, comprise successor corporate business entities of, inter alia, ADAMASTOS

SHIPPING.

197. The Defendants BLUE WALL, VIGOROUS, and FEARLESS: a) occupy and carry
on business from the same business premises as ADAMASTOS SHIPPING, i.e. the offices of
George Gourdomichalis and Stathis Gourdomichalis at PHOENIX SHIPPING; b) they transact
their business by and through substantially identical personnel; c) share common officers and
directors, i.e. the Gourdomichalis brothers; d) have the same financing banks financing their
business and bank accounts; e) have a continuity of the same principal, controlling shareholders
who make decisions for the companies, i.e. George Gourdomichalis and Stathis Gourdomichalis;
f) there isa continuity of general business operations through PHOENIX SHIPPING including
the same insurers The American Club and same accountants Moore Stephens; and g) there is

continuity of assets to the new single purpose entities by and through PHOENIX SHIPPING.

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198. Notwithstanding the purported difference in the companies, the commercial,
technical, and chartering operations of BLUE WALL, VIGOROUS SHIPPING, FEARLESS
SHIPPING, and the other single vessel owning offshore shell companies and their Vessels, are
performed by the same Key Men and the same employees working out of the same PHOENIX
SHIPPING office which owned, dominated, controlled, and operated ADAMASTOS SHIPPING,
all at the direction, domination, and control of George Gourdomichalis and Stathis

Gourdomichalis.

199. The Defendants have in common key management personnel and all management
decisions are conducted through George Gourdomichalis and Stathis Gourdomichalis.

200. Defendants BLUE WALL, VIGOROUS SHIPPING, FEARLESS SHIPPING and
the remaining offshore shell companies within the BLUE WALL fleet are a mere continuation
of the business of ADAMASTOS SHIPPING, by and through George Gourdomichalis, Stathis
Gourdomichalis, and PHOENIX SHIPPING, as evidenced by the common identity of assets,
location, management, personnel, control, stockholders, service providers, accountants, and

insurers.

201. Both the M/V ADAMASTOS and the M/V FEARLESS were entered for P&I
insurance with the American Club. A member-based protection and indemnity club for which
George Gourdomichalis has sat on the Board of Directors since 2004. George Gourdomichalis has
been on the American Club Board of Directors as a representative of PHOENIX SHIPPING since

2012 and is currently the Chairman of the Board.

202. In addition, all of the Defendants and other off-shore shell entities have their

accounting and auditing services performed by the same company, Moore Stephens.

203. Accordingly, BLUE WALL and the one-ship-companies it holds, including

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VIGOROUS SHIPPING, are liable for Plaintiff's claims as the successor corporations of
ADAMASTOS SHIPPPING and the M/V VIGOROUS may be attached as security for Plaintiff’s
claims.

IV. APPLICATION FOR ATTACHMENT ER PLE AL AD LTY
RULEB

204. PACIFIC GULF restates and re-alleges paragraphs 1 — 203 in the above

foregoing Verified Complaint.

205. Plaintiff's claim against Defendants for breach of the charter party agreement
is a maritime claim. This is an ancillary proceeding to secure jurisdiction and security over

Defendants.

206. Defendants are not present and cannot be found in the District within the
meaning of Rule B of the Supplemental Rules for Certain Admiralty and Maritime Law
Claims. See Affidavit of Attorney Briton P. Sparkman, Exhibit 27. Notwithstanding, the
Defendants have within the District tangible personal property comprised of the M/V
FEARLESS, IMO No. 9228265, which is subject to attachment as security for PACIFIC

GULP’s claims.

207. Interest, costs, and attorney’s fees are routinely awarded to the prevailing
party under English Law and the procedural rules of London arbitration. It is standard for
interest to be awarded to the prevailing party in the amount of 5.0%, compounded quarterly.

See Exhibit 2, pgs. 21-23.

208. PACIFIC GULF expects to recover the following amounts in arbitration

from Defendants:

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A. Principal Claim $19,296,671.50

B. Estimated Interest for Principal Claim: $306,109.50
4 years at 5.0 %, compounded quarterly

C. Arbitration Cost: $7,100.00

D. Estimated Attorney’s Fees: $750,000.00
TOTAL: $23,059,881

209. Therefore, PACIFIC GULF’s total claim for breach of the charter party, plus

applicable interest, costs, and fees in the aggregate estimated to be no less than $23,059,881.

WHEREFORE PREMISES CONSIDERED, Plaintiff prays as follows:

A. That process in due form of law, according to the practice of this Honorable
Court in matters of admiralty and maritime jurisdiction be issued against Defendants and said
Defendants be cited to appear and answer the allegations of this Verified Complaint;

B. That if Defendants cannot be found within this district, then all of their
respective tangible or intangible property within this district, including M/V FEARLESS,
her engines, boilers, tackle, apparel, and all necessary appurtenances thereto, as well as debts,
credits, or effects including but not limited to accounts, checks, disbursement advances,
payments, property on board the M/V VIGOROUS, owned by the said Defendants or in the
hands or control of persons named as garnishees in the Process of Maritime Attachment and
Garnishment be attached and seized pursuant to Supplemental Admiralty Rule B for Certain
Admiralty and Maritime Claims;

C. That a judgment be entered against the Defendants in the sum of $23,059,881

and the proceeds of the assets attached be applied in satisfaction thereof;

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Respectfully submitted,

Dated: February 27, 2019
Houston, Texas

 

 

By:

 

Ge ree M. Chalos

SDTX Federal Id No. 623727
Briton P. Sparkman

SDTX Federal Id No. 1148116
Margaret L. Manns

SDTX Federal Id No. 24091010
7210 Tickner Street

Houston, TX 77055

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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

 

HOUSTON DIVISION
a X
PACIFIC GULF SHIPPING CO.,
Plaintiff, 2 CIVIL ACTION NO. H-19-CV-___
Vv. IN ADMIRALTY
ADAMASTOS SHIPPING & TRADING : UNDER SEAL

S.A., VIGOROUS SHIPPING & TRADING :
S.A., FEARLESS SHIPPING & TRADING :
S.A., BLUE WALL SHIPPING LTD.,
PHOENIX SHIPPING & TRADING S.A.,
THALASSA HOLDINGS S.A.,

ALASTOR MARINE S.A., GEORGE
GOURDOMICHALIS, and EFSTATHIOS
GOURDOMICHALIS,

Defendants.

 

X
VERIFICATION OF COMPLAINT

Pursuant to 28 U.S.C. $1746, Briton P. Sparkman, declares under the penalty of perjury:

1. I am an attorney of the law firm of CHALOS & CO, P.C., counsel for the Plaintiff,
PACIFIC GULF SHIPPING CO., herein and a member in good standing of this Honorable Court;

2. I have read the foregoing Verified Complaint and know the contents thereof. I
believe the matters to be true based on documents and information obtained from employees and
representatives of the Plaintiff through its agents, underwriters and attorneys.

4. The reason that this verification was made by deponent and not by the Plaintiff is
because Plaintiff is a foreign corporation, whose officers are not in this district, and whose original

signature verification cannot be obtained within the time constraints presented by the

circumstances of this case.
I declare under penalty of perjury that the foregoing is true and correct.

Respectfully submitted,

Dated: February 27, 2019 CHALOS & Co, P.C.

Houston, Texas “Cx
By:

George M. Chalos

SDTX Federal Id No. 623727
Briton P. Sparkman

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